Case 2:22-cv-00203-JRG-RSP Document 200-12 Filed 09/27/23 Page 1 of 1 PageID #:
                                   9723



                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 NETLIST, INC.,                  )
                                 )
           Plaintiff,            )
                                 )
                                                   Civil Action No. 2:22-cv-203-JRG
      vs.                        )
                                 )
                                                   JURY TRIAL DEMANDED
 MICRON TECHNOLOGY, INC.; MICRON )
 SEMICONDUCTOR PRODUCTS, INC.; )
 MICRON TECHNOLOGY TEXAS LLC, )
                                 )
           Defendants.           )
                                 )

                                             ORDER

        The Court, having considered Plaintiff’s Motion for an Order to Show Cause Why

 Evidentiary Sanctions Relating to the ‘060 and ‘160 Patents Should Not Be Issued on Defendants,

 and the response and supporting documents attached thereto, is of the opinion that the Plaintiff’s

 Motion should be GRANTED.

        IT IS SO ORDERED.
